                   Case 4:21-cv-07181-HSG Document 30 Filed 11/08/21 Page 1 of 2
                                                                                                                                             Reset Form

 1                                        UNITED STATES DISTRICT COURT
 2                                     NORTHERN DISTRICT OF CALIFORNIA
 3   GREEN RENEWABLE ORGANIC AND WATER HOLDINGS,            )
     LLC d/b/a GROW HOLDINGS AND W. QUAY HAYS,              )             4:21-cv-07181
                                                                 Case No: _______________
 4                                                          )
                                           Plaintiff(s),    )    APPLICATION FOR
 5                                                          )    ADMISSION OF ATTORNEY
              v.
                                                            )    PRO HAC VICE
 6   BLOOMFIELD INVESTMENTS, LLC and                        )    (CIVIL LOCAL RULE 11-3)
     DOES 1 through 20, inclusive,                          )
 7                                                          )
                                           Defendant(s).
                                                            )
 8
         I, Mark L. Hanin                          , an active member in good standing of the bar of
 9    the District of Columbia      , hereby respectfully apply for admission to practice pro hac vice in the
10    Northern District of California representing:                                              in the
                                                           GREEN RENEWABLE ORGANIC AND WATER HOLDINGS, LLC d/b/a GROW HOLDINGS AND W. QUAY HAYS



                                                                 Mark D. Flanagan
      above-entitled action. My local co-counsel in this case is __________________________________,     an
11    attorney who is a member of the bar of this Court in good standing and who maintains an office
12    within the State of California.
       MY ADDRESS OF RECORD:                                          LOCAL CO-COUNSEL S ADDRESS OF RECORD:
13    Wilmer Cutler Pickering Hale and Dorr LLP                      Wilmer Cutler Pickering Hale and Dorr LLP
      1875 Pennsylvania Avenue NW                                    2600 El Camino Real, Suite 400
14    Washington, DC 20006                                           Palo Alto, CA 94306
       MY TELEPHONE # OF RECORD:                                      LOCAL CO-COUNSEL S TELEPHONE # OF RECORD:
15    (202) 663-6000                                                 (650) 858-6000
       MY EMAIL ADDRESS OF RECORD:                                    LOCAL CO-COUNSEL S EMAIL ADDRESS OF RECORD:
16    mark.hanin@wilmerhale.com                                      mark.flanagan@wilmerhale.com
         I am an active member in good standing of a United States Court or of the highest court of
17    another State or the District of Columbia, as indicated above; my bar number is: 1742891      .
18        A true and correct copy of a certificate of good standing or equivalent official document from said
      bar is attached to this application.
19       I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
      Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
          I declare under penalty of perjury that the foregoing is true and correct .
21
      Dated: 10/21/21                                                                  Mark L. Hanin
22                                                                                                           APPLICANT

23
                                         ORDER GRANTING APPLICATION
24                                 FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of Mark L. Hanin                              is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated:
                                                                        UNITED STATES DISTRICT/MAGISTRATE JUDGE

     PRO HAC VICE APPLICATION & ORDER                                                                                                             October 2012
Case 4:21-cv-07181-HSG Document 30 Filed 11/08/21 Page 2 of 2
